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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                      Case No. 18-cv-22666-KMM
 ROSARIO SANCHEZ

           Plaintiff,

 vs.

 PORKYS CABARET INC., d/b/a BELLAS
 CABARET, a Florida Company

        Defendant.
 ________________________________________/

                                    PLAINTIFF’S STATEMENT OF CLAIM

       Plaintiff, ROSARIO SANCHEZ, (“Plaintiff”), respectfully submits this Statement of

 Claim as follows:

       a. Total amount of alleged unpaid wages:

          $21,561.60 (liquidated)

       b. Calculation of such wages:

          1. Unpaid Florida Minimum Wages: 1 Plaintiff worked for Defendant as a

              waitress/bartender employee, from December 2011 to on or about November 2014.

              Plaintiff was paid at $20.00 per day when she worked as a waitress and $30.00 per

              day when she worked as a bartender. Plaintiff worked approximately thirty-two (32)

              to forty (40) hours a week and worked four (4) days a week. The Florida minimum

              wage for tipped employees in 2012 was $4.65. As such, Plaintiff is owed a total of

              approximately $9,672.00 (40 hours x $4.65 x 52 weeks) unliquidated unpaid wages


 1
   Plaintiff has filed her Amended Complaint removing all claims under Federal Law and within the jurisdiction of
 this Court. (ECF No. 8). Plaintiff is filing this Statement of Claim based on the wages owed to her under Florida
 Minimum Wage Act and to satisfy this Court’s requirements. (ECF No. 3). Plaintiff will file a Motion to Remand
 this matter to state court.
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          for this period of time minus at most $6,240.00 ($30.00 x 4 days x 52 weeks) for the

          monies she received. The Florida minimum wage for tipped employees in 2013 was

          $4.77. As such, Plaintiff is owed a total of approximately $9,921.60 (40 hrs x $4.77 x

          52 weeks) unliquidated unpaid wages minus at most $6,240.00 ($30.00 x 4 days x 52

          weeks) for the monies she received for this period of time. The Florida minimum

          wage for tipped employees in 2014 was $4.91. As such, Plaintiff is owed a total of

          approximately $9,427.20 (40 hours x $4.91 x 48 weeks) unliquidated unpaid wages

          minus at most $5,760.00 ($30.00 x 4 days x 48 weeks) for the monies she received

          for this period of time. Therefore, Plaintiff is seeking a total of at least $10,780.00 in

          unliquidated unpaid wages.

 2012:

  DIFFERENCE IN           APPROX.                     NUMBER OF                    TOTAL
     FLORIDA           HOURS WORKED                     WEEKS                  WAGES OWED
    MINIMUM              PER WEEK                                               (unliquidated)
   WAGE RATE
      $1.65                 40 HOURS                    52 WEEKS                   $3,432.00




 2013:

  DIFFERENCE IN           APPROX.                     NUMBER OF                    TOTAL
     FLORIDA           HOURS WORKED                     WEEKS                  WAGES OWED
    MINIMUM              PER WEEK                                               (unliquidated)
   WAGE RATE
      $1.77                 40 HOURS                    52 WEEKS                   $3,681.60
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 2014:

  DIFFERENCE IN               APPROX.                    NUMBER OF                    TOTAL
     FLORIDA               HOURS WORKED                    WEEKS                  WAGES OWED
    MINIMUM                  PER WEEK                                              (unliquidated)
   WAGE RATE
      $1.91                     40 HOURS                   48 WEEKS                   $3,667.20




    Plaintiff reserves the right, however, to adjust and amend this initial calculation as discovery

 proceeds as it may be discovered that Plaintiff is owed more or less than those amounts

 calculated.


    c. Nature of wages:

                      This amount represents liquidated minimun wages.

    d. Attorneys’ Fees:
       To date, counsel for Plaintiff has spent approximately ten (10) hours prosecuting

         Plaintiff’s claims at a rate of $400.00 per hour, total attorneys’ fees accrued are $4,000.


               WHEREFORE, based on the foregoing, the Plaintiff files this Statement of Claim.

    Dated: July 23, 2018

                                                       Respectfully submitted,

                                                              /s/Nathaly Lewis
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 23rd day of July 2018 I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached Service List in the manner specified, either via transmission of Notices of Electronic

 Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

 who are not authorized to receive electronically Notices of Electronic Filing.



                                              s/ Nathaly Lewis
                                              NATHALY LEWIS
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                                       SERVICE LIST

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